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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 SwissMarine Asia Pte. Ltd.,                           §
                                                       §
        Plaintiff,                                     §
                                                       §   CIVIL ACTION NO.: 1:22-cv-00359
 vs.                                                   §
                                                       §   IN ADMIRALTY, Rule 9(h)
 Mosaic Fertilizer, LLC                                §
                                                       §
        Defendant,                                     §
                                                       §
 and                                                   §
                                                       §
 Wells Fargo Bank, N.A.                                §
 Wells Fargo Bank, National Association                §
 Fifth Third Bank, National Association                §
 Truist Bank                                           §
                                                       §
            Garnishees.                                §

                          MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now J. Stephen Simms, applicant herein, and moves this Court to grant admission

to the United States District Court for the Western District of Texas pro hac vice to represent

SwissMarine Asia Pte. Ltd in this case, and would respectfully show the Court as follows:

       1.       Applicant is an attorney and a member of the law firm (or practices under the

name of) Simms Showers LLP with offices at:

       Mailing address:         201 International Circle, Suite 230
       City, State, Zip Code:   Baltimore, Maryland 21030
       Telephone:               410-783-5795
       Facsimile:               410-510-1789

       2.       Since 1985, Applicant has been and presently is a member of and in

good standing with the Bar of the State of Maryland.

       Applicant’s bar license number is 198-512-010-574.

       3.       Applicant has been admitted to practice before the following courts:

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       4.      Applicant is presently a member in good standing of the bars of the courts listed

above, except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice): Illinois (Inactive).
 Bar Code / ID      Jurisdiction                                        Date of Admission/Status

 None          U.S. Supreme Court                                10/21/2002 Active
 None          U.S. Court of Federal Claims                      11/22/2006 Active
 None          U.S. Court of International Trade                 01/19/1984 Active
 382388        U.S. District Court - District of Columbia        09/14/1992 Active
 04269         U.S. District Court - Maryland                    08/16/1985 Active
 None          U.S. District Court – Northern Illinois           12/21/1983 Active
 None          U.S. District Court – N.Y. Western District       12/21/2015 Active
 None          U.S. Court of Appeals - 2nd Circuit               02/01/2010 Active
 None          U.S. Court of Appeals – 3rd Circuit               10/02/1985 Active
 None          U.S. Court of Appeals – 4th Circuit               10/18/1985 Active
 None          U.S. Court of Appeals - 5th Circuit               07/18/2002 Active
 None          U.S. Court of Appeals – 7th Circuit               12/30/1983 Active
 None          U.S. Court of Appeals – 9th Circuit               11/30/2005 Active
 None          U.S. Court of Appeals – 11th Circuit              09/12/1995 Active
 53972         U.S. Court of Appeals – D.C. Circuit              02/15/2012 Active
 382388        D.C. Court of Appeals                             09/12/1995 Active
 6185958       Illinois Supreme Court                            11/09/1983 Inactive
 198-512-010-  Maryland Court of Appeals                         12/20/1985 Active
 574
      5.    Applicant has never been subject to grievance proceedings or involuntary removal

proceedings while a member of the bar of any state or federal court, except as provided

below: n/a

       6.      Applicant has not been charged, arrested, or convicted of a criminal offense or

offenses, except as provided below (omit minor traffic offenses): n/a

       7.      Applicant has read and is familiar with the Local Rules of the Western District of

Texas and will comply with the standards of practice set out therein.

       8.      Applicant has co-counsel in this case who is admitted to practice before the

United States District Court for the Western District of Texas.

               Co-counsel:             Joseph D. Austin


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               Mailing address:      KELLY HART & HALLMAN, LLP, 201 Main Street,
                                     Suite 2500.
               City, State, Zip Code: Fort Worth, Texas 76102
               Telephone:            (817) 332-2500

       9.      Should the Court grant applicant’s motion, Applicant shall tender the amount of

$100.00 pro hac vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable

to: Clerk, U.S. District Court].

       10.     Should the Court grant applicant's motion, Applicant shall register as a filing user

within 10 days of this order, pursuant to Administrative Policies and Procedures for Electronic

Filing in Civil and Criminal Cases in the Western District of Texas.

       Wherefore, Applicant prays that this Court enter an order permitting the admission of J.

Stephen Simms to the Western District of Texas pro hac vice for this case only.

Dated: April 14, 2022.

                                             Respectfully submitted,




                                             ___________________________________
                                             J. Stephen Simms ( pro hac vice pending)
                                             Simms Showers LLP
                                             201 International Circle, Suite 230
                                             Baltimore, Maryland 21030
                                             Telephone: 410-783-5795
                                             Facsimile:     410-510-1789
                                             jssimms@simmsshowers.com
                                             Attorneys for SwissMarine




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a true and correct copy of this motion upon each

attorney of record and the original upon the Clerk of Court on this the 14th day of April, 2022.




                                             ___________________________________
                                             J. Stephen Simms ( pro hac vice pending)




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